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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

 UNITED STATES OF AMERICA                  §
                                           §         No. l:19-CR-7
 v.                                        §
                                           §
 KHRISTAL FORD                             §
                                                                             w -S !01S
                                     INFORMATION
                                                                    BY
THE UNITED STATES ATTORNEY CHARGES:                                deputy

                                        Count One
      (Violation: 18 U.S.C. §§ 242 and 2, Deprivation of Rights Under Color of Law)


       A. AT ALL TIMES MATERIAL HEREIN:

       1. The United States Federal Correctional Complex (FCC), in Beaumont,

Texas, is a federal correctional facility within the Eastern District of Texas.

       2. The defendant, Khristal Ford, was employed by the Federal Bureau of

Prisons, and served as a supervisory correctional officer at FCC Beaumont.

       3. On June 8, 2017, defendant, Khristal Ford, was on duty as a Lieutenant at

FCC Beaumont.


       4. On June 8, 2017, A.A. was a federal inmate imprisoned at FCC Beaumont.


       B. THE OFFENSE:

       5. On or about June 8, 2017, in the Eastern District of Texas, the defendant,

Khristal Ford, while acting under color of law and while aiding and abetting correctional

officer, Tavoris Bottley, willfully deprived A. A., a federal inmate, of the right, secured and
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protected by the Constitution and the laws of the United States, to be free from cruel and

unusual punishment by one acting under color of law, to wit: defendant, Khristal Ford,

aided and abetted correctional officer, Tavoris Bottley, in assaulting A.A. in a medical

observation cell by opening the door to A.A. s cell, and telling correctional officer, Tavoris

Bottley, to take care of it , and then watching as correctional officer, Tavoris Bottley,

entered the cell and assaulted A.A. without any lawful justification by punching A.A. in

the head three times. The offense resulted in bodily injury to A.A.

       All in violation of Title 18 U.S.C. §§ 242 and 2.




                                           JOSEPH D. BROWN
                                           U ITED STATES ATTORNEY




                                           Assistant United States Attorney
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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION

UNITED STATES OF AMERICA §
                                      § No. 1T9-CR-
v.                        §


KHRISTAL FORD §


                               NOTICE OF PENALTY

                                    Count One

Violation: 18U.S.C. §242

Penalty: Imprisonment of not more than ten (10) years, a fine not to exceed
                 $250,000, or both imprisonment and a fine; and a term of supervised
                 release of not more than three (3) years.

Special Assessment: $ 100.00
